             Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 1 of 13




 1

 2

 3

 4

 5

 6

 7                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
 9                                             AT SEATTLE
10 STRIKE 3 HOLDINGS, LLC, a Delaware                      Case No.:
   corporation,
11                                                         COMPLAINT FOR COPYRIGHT
                     Plaintiff,                            INFRINGEMENT
12
   vs.                                                     JURY DEMAND
13
   JOHN DOE subscriber assigned IP address
14 73.225.38.130,

15                          Defendant.
16

17          Plaintiff, Strike 3 Holdings, LLC, brings this complaint against John Doe subscriber assigned IP
18 address 73.225.38.130, and alleges as follows:

19                                              Introduction
20          1.      This is a case about the ongoing and wholesale copyright infringement of
21 Plaintiff’s motion pictures by Defendant, currently known only by an IP address.

22          2.      Plaintiff, Strike 3 Holdings, LLC (“Strike 3” or “Plaintiff”) is the owner of award
23 winning, critically acclaimed adult motion pictures.

24          3.      Strike 3’s motion pictures are distributed through the Blacked, Tushy, and Vixen
25 adult websites and DVDs. With more than 20 million unique visitors to its websites each

26 month, the brands are famous for redefining adult content, creating high-end, artistic, and

27
     COMPLAINT                                                                   FOX ROTHSCHILD LLP
28                                                                        1001 Fourth Avenue, Suite 4500
                                                                                      Seattle, WA 98154
                                                                                         (206) 624-3600
                                                       1
              Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 2 of 13




 1 performer-inspiring motion pictures produced with a Hollywood style budget and quality.

 2          4.      Defendant is, in a word, stealing these works on a grand scale. Using the

 3 BitTorrent protocol, Defendant is committing rampant and wholesale copyright infringement by

 4 downloading Strike 3’s motion pictures as well as distributing them to others. Defendant did

 5 not infringe just one or two of Strike 3’s motion pictures, but has been recorded infringing 80

 6 movies over an extended period of time.

 7          5.      Although Defendant attempted to hide this theft by infringing Plaintiff’s content

 8 anonymously, Defendant’s Internet Service Provider (“ISP”), Comcast Cable Communications,
 9 LLC (“Comcast Cable”), can identify Defendant through his or her IP address 73.225.38.130.

10          6.      This is a civil action seeking damages under the United States Copyright Act of

11 1976, as amended, 17 U.S.C. §§ 101 et seq. (the “Copyright Act”).

12                                        Jurisdiction and Venue

13          7.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

14 § 1331 (federal question); and 28 U.S.C. § 1338 (jurisdiction over copyright actions).

15          8.      This Court has personal jurisdiction over Defendant because Defendant used an

16 Internet Protocol address (“IP address”) traced to a physical address located within this District

17 to commit copyright infringement. Therefore (i) Defendant committed the tortious conduct

18 alleged in this Complaint in this State; and, (ii) Defendant resides in this State and/or;

19 (iii) Defendant has engaged in substantial – and not isolated – business activity in this State.
20          9.      Plaintiff used IP address geolocation technology by Maxmind Inc. (“Maxmind”),

21 an industry-leading provider of IP address intelligence and online fraud detection tools, to

22 determine that Defendant’s IP address traced to a physical address in this District. Over 5,000

23 companies, along with United States federal and state law enforcement, use Maxmind’s GeoIP

24 data to locate Internet visitors, perform analytics, enforce digital rights, and efficiently route

25 Internet traffic.

26

27
      COMPLAINT                                                                 FOX ROTHSCHILD LLP
28                                                                       1001 Fourth Avenue, Suite 4500
                                                                                     Seattle, WA 98154
                                                                                        (206) 624-3600
                                                      2
               Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 3 of 13




 1          10.     Pursuant to 28 U.S.C. § 1391(b) and (c), venue is proper in this district because:

 2 (i) a substantial part of the events or omissions giving rise to the claims occurred in this District;

 3 and, (ii) the Defendant resides (and therefore can be found) in this District and resides in this

 4 State. Additionally, venue is proper in this District pursuant 28 U.S.C. § 1400(a) (venue for

 5 copyright cases) because Defendant or Defendant’s agent resides or may be found in this

 6 District.

 7                                                 Parties

 8          11.     Strike 3 is a Delaware limited liability company located at 2140 S. Dupont Hwy,

 9 Camden, DE.

10          12.     Plaintiff currently can only identify Defendant by his or her IP address.

11 Defendant’s IP address is 73.225.38.130. Defendant’s name and address can be provided by

12 Defendant’s Internet Service Provider.

13                                         Factual Background

14 Plaintiff’s Award-Winning Copyrights

15          13.     Strike 3’s subscription based websites proudly boast a paid subscriber base that

16 is one of the highest of any adult-content sites in the world. Strike 3 also licenses its motion

17 pictures to popular broadcasters and Strike 3’s motion pictures are the number one selling adult

18 DVDs in the United States.

19          14.     Strike 3’s motion pictures and websites have won numerous awards, such as

20 “best cinematography,” “best new studio,” and “adult site of the year.” One of Strike 3’s

21 owners, two-time director of the year Greg Lansky, has been dubbed the adult film industry’s

22 “answer to Steven Spielberg.”

23          15.     Strike 3’s motion pictures have had positive global impact, leading more adult

24 studios to invest in better content, higher pay for performers, and to treat each performer with

25 respect and like an artist.

26          16.     Unfortunately, Strike 3, like a large number of other makers of motion picture

27
      COMPLAINT                                                                FOX ROTHSCHILD LLP
28                                                                      1001 Fourth Avenue, Suite 4500
                                                                                    Seattle, WA 98154
                                                                                       (206) 624-3600
                                                      3
              Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 4 of 13




 1 and television works, has a major problem with Internet piracy. Often appearing among the

 2 most infringed popular entertainment content on torrent websites, Strike 3’s motion pictures are

 3 among the most pirated content in the world.

 4 Defendant Used the BitTorrent File Distribution Network to Infringe Plaintiff’s Copyrights

 5          17.     BitTorrent is a system designed to quickly distribute large files over the Internet.

 6 Instead of downloading a file, such as a movie, from a single source, BitTorrent users are able

 7 to connect to the computers of other BitTorrent users in order to simultaneously download and

 8 upload pieces of the file from and to other users.
 9          18.     To use BitTorrent to download a movie, the user has to obtain a “torrent” file for

10 that movie, from a torrent website. The torrent file contains instructions for identifying the

11 Internet addresses of other BitTorrent users who have the movie, and for downloading the

12 movie from those users. Once a user downloads all of the pieces of that movie from the other

13 BitTorrent users, the movie is automatically reassembled into its original form, ready for

14 playing.

15          19.     BitTorrent’s popularity stems from the ability of users to directly interact with

16 each other to distribute a large file without creating a heavy load on any individual source

17 computer and/or network. It enables Plaintiff’s motion pictures, which are often filmed in state

18 of the art 4kHD, to be transferred quickly and efficiently. Moreover, BitTorrent is designed so

19 that the more files a user offers for download to others, the faster the user’s own downloads
20 become. In this way, each user benefits from illegally distributing other’s content and violating

21 copyright laws.

22          20.     Each piece of a BitTorrent file is assigned a unique cryptographic hash value.

23          21.     The cryptographic hash value of the piece (“piece hash”) acts as that piece’s

24 unique digital fingerprint. Every digital file has one single possible cryptographic hash value

25 correlating to it. The BitTorrent protocol utilizes cryptographic hash values to ensure each

26 piece is properly routed amongst BitTorrent users as they engage in file sharing.

27
     COMPLAINT                                                                 FOX ROTHSCHILD LLP
28                                                                      1001 Fourth Avenue, Suite 4500
                                                                                    Seattle, WA 98154
                                                                                       (206) 624-3600
                                                      4
               Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 5 of 13




 1           22.     The entirety of the digital media file also has a unique cryptographic hash value

 2 (“file hash”), which acts as a digital fingerprint identifying the digital media file (e.g. a movie).

 3 Once infringers complete the downloading of all pieces which comprise a digital media file, the

 4 BitTorrent software uses the file hash to determine that the file is complete and accurate.

 5           23.     Defendant used the BitTorrent file network to illegally download and distribute

 6 Plaintiff’s copyrighted motion pictures.

 7           24.     Plaintiff’s investigator, IPP International U.G. (“IPP”) established direct TCP/IP

 8 connections with the Defendant’s IP address as outlined on Exhibit A while Defendant was
 9 using the BitTorrent file distribution network.

10           25.     While Defendant was infringing, IPP downloaded from Defendant one or more

11 pieces of the digital media files containing Strike 3’s motion pictures listed on Exhibit A

12 (“Works”).

13           26.     A full copy of each digital media file was downloaded from the BitTorrent file

14 distribution network, and it was confirmed through independent calculation that the file hash

15 correlating to each file matched the file hash downloaded by Defendant.

16           27.     Defendant downloaded, copied, and distributed a complete copy of Plaintiff’s

17 Works without authorization.

18           28.     At no point was Plaintiff’s copyrighted content uploaded by IPP to any

19 BitTorrent user.
20           29.     The digital media files have been verified to contain a digital copy of a motion

21 picture that is identical (or alternatively, strikingly similar or substantially similar) to Plaintiff’s

22 corresponding original copyrighted Works.

23           30.     Defendant’s infringement is continuous and ongoing. Absent this lawsuit,

24 Plaintiff knows of no way to effectively prevent Defendant from infringing Plaintiff’s motion

25 pictures.

26           31.     Plaintiff owns the copyrights to the Works and the Works have either been

27
      COMPLAINT                                                                   FOX ROTHSCHILD LLP
28                                                                         1001 Fourth Avenue, Suite 4500
                                                                                       Seattle, WA 98154
                                                                                          (206) 624-3600
                                                        5
             Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 6 of 13




 1 registered with the United States Copyright Office or have pending copyright registrations. The

 2 United States Copyright Office registration information for the Works, including the registration

 3 number, is outlined on Exhibit A.

 4          32.    For Plaintiff’s Works that are still pending registration, a complete application,

 5 fees, and deposit materials for copyright registration have been received by the Copyright

 6 Office in compliance with the Copyright Act, 17 U.S.C. §§ 101, et seq. The application number

 7 is listed on Exhibit A.

 8          33.    Plaintiff is entitled to seek statutory damages and attorneys’ fees under 17 U.S.C.

 9 § 501 of the United States Copyright Act.

10                                          Cause of Action

11                                  Direct Copyright Infringement

12          34.    The allegations contained in paragraphs 1-33 are hereby re-alleged as if fully set

13 forth herein.

14          35.    Plaintiff is the owner of the Works, which is an original work of authorship.

15          36.    Defendant copied and distributed the constituent elements of Plaintiff’s Works

16 using the BitTorrent protocol.

17          37.    At no point in time did Plaintiff authorize, permit or consent to Defendant’s

18 distribution of its Works, expressly or otherwise.

19          38.    As a result of the foregoing, Defendant violated Plaintiff’s exclusive right to:

20          (A)    Reproduce its Works in copies, in violation of 17 U.S.C. §§ 106(1) and 501;

21          (B)    Distribute copies of the Works to the public by sale or other transfer of

22 ownership, or by rental, lease or lending, in violation of 17 U.S.C. §§ 106(3) and 501;

23          (C)    Perform the copyrighted Works, in violation of 17 U.S.C. §§ 106(4) and 501, by

24 showing the Works’ images in any sequence and/or by making the sounds accompanying the

25 Works’ audible and transmitting said performance of the work, by means of a device or process,

26 to members of the public capable of receiving the display (as set forth in 17 U.S.C. § 101’s

27
     COMPLAINT                                                                FOX ROTHSCHILD LLP
28                                                                     1001 Fourth Avenue, Suite 4500
                                                                                   Seattle, WA 98154
                                                                                      (206) 624-3600
                                                    6
              Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 7 of 13




 1 definitions of “perform” and “publically” perform); and

 2          (D)      Display the copyrighted Works, in violation of 17 U.S.C. §§ 106(5) and 501, by

 3 showing individual images of the works non-sequentially and transmitting said display of the

 4 works by means of a device or process to members of the public capable of receiving the

 5 display (as set forth in 17 U.S.C. § 101’s definition of “publicly” display).

 6          39.      Defendant’s infringements were committed “willfully” within the meaning of 17

 7 U.S.C. § 504(c)(2).

 8                                             Jury Demand

 9          Pursuant to Fed. R. Civ. P. 38, Plaintiff respectfully demands a trial by jury of all issues

10 so triable.

11                                           Prayer for Relief

12          WHEREFORE, Plaintiff respectfully requests that the Court:

13          (A)      Permanently enjoin Defendant from continuing to infringe Plaintiff’s

14 copyrighted Works;

15          (B)      Order that Defendant delete and permanently remove the digital media files

16 relating to Plaintiff’s Works from each of the computers under Defendant’s possession, custody

17 or control;

18          (C)      Order that Defendant delete and permanently remove the infringing copies of the

19 Works Defendant has on computers under Defendant’s possession, custody or control;
20          (D)      Award Plaintiff statutory damages per infringed work pursuant to 17 U.S.C. §

21 504(a) and (c);

22          (E)      Award Plaintiff its reasonable attorneys’ fees and costs pursuant to 17 U.S.C. §

23 505; and

24          (F)      Grant Plaintiff any other and further relief this Court deems just and proper.

25

26

27
     COMPLAINT                                                                 FOX ROTHSCHILD LLP
28                                                                      1001 Fourth Avenue, Suite 4500
                                                                                    Seattle, WA 98154
                                                                                       (206) 624-3600
                                                      7
          Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 8 of 13




1        DATED this 16th day of November 2017

2                                         FOX ROTHSCHILD LLP
3                                         By: /s/ Bryan J. Case
                                          Bryan J. Case, WSBA #41781
4                                         1001 Fourth Avenue Suite 4500
                                          Seattle, WA 98154
5                                         Telephone: 206-625-3600
                                          Facsimile: 206-389-1708
6                                         Email: bcase@foxrothschild.com
7                                         Attorneys for Plaintiff
8
9

10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27
     COMPLAINT                                                        FOX ROTHSCHILD LLP
28                                                             1001 Fourth Avenue, Suite 4500
                                                                           Seattle, WA 98154
                                                                              (206) 624-3600
                                            8
                               Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 9 of 13
                                                       Exhibit A to the Complaint
Location: Federal Way, WA                                                                            IP Address: 73.225.38.130
Total Works Infringed: 80                                                                            ISP: Comcast Cable
 Work       Hash                                        Site                UTC          Published         CRO App. File   CRO Number
                                                                                                           Date
 1          1BC8C1ADCAA75C3EC9408C8CCBF5147863205E6C    Tushy               09/05/2017   09/03/2017        09/10/2017      PA0002052851
                                                                            10:40:33
 2          0326E8923C58852725F5A7857833A4CD3E715289    Tushy               05/15/2017   05/06/2017        06/15/2017      15389210313
                                                                            04:40:00
 3          039F4779148D3E374D990283A83AC46A0219DAE9    Vixen               05/12/2017   04/19/2017        06/15/2017      15389210409
                                                                            06:25:29
 4          0CDEB18021838E8E2A694A7D16D9A45366CFABB6    Blacked             08/08/2017   08/08/2017        08/17/2017      15732904191
                                                                            21:54:29
 5          1487A26EAAAD70318258AB9F506506A8F293533A    Blacked             05/21/2017   05/05/2017        06/15/2017      PA0002037591
                                                                            18:02:17
 6          1A032CB38BB2AF87DAF2B239A1A17B6C713EBC26    Blacked             08/12/2017   08/03/2017        08/17/2017      15732904092
                                                                            13:46:39
 7          1C2C06D480942F4FE7FDCED4759E93805E02B54B    Tushy               05/24/2017   05/21/2017        06/22/2017      PA0002039282
                                                                            01:49:12
 8          1D1B18BB0C921D6E1A6D148E4542257B42A2469F    Tushy               06/22/2017   06/20/2017        07/06/2017      15584063275
                                                                            08:52:38
 9          1D63168E762F9CB41AE4DBD6646599AD0EFF3911    Blacked             07/10/2017   07/09/2017        08/17/2017      15732782151
                                                                            20:05:40
 10         1D7E521CD7368013A7F1B28494A2AC43D8F99F0E    Vixen               09/03/2017   09/01/2017        09/07/2017      PA0002052845
                                                                            05:01:06
 11         1D7E721AC3B8D955BBCAD8D62F57AF030BD1F315    Vixen               06/06/2017   06/03/2017        07/06/2017      15584691685
                                                                            10:18:02
 12         22883186DAB5FCA92C8513AD939652BCB867FD5C    Tushy               08/21/2017   08/19/2017        08/24/2017      15894022311
                                                                            10:03:46
 13         22C377CC65B1695E6470BFAF967C4C825391EF90    Blacked             08/01/2017   07/29/2017        08/11/2017      PA0002046872
                                                                            08:09:40
 14         24D6E127081B069994E81CA544B8FF3E3A0A33D3    Tushy               05/17/2017   05/16/2017        06/22/2017      PA0002039300
                                                                            06:35:34
 15         258961E123E520633A96CDF11E8E6F60E233C816    Vixen               07/24/2017   07/23/2017        08/10/2017      PA0002046877
                                                                            17:24:34
 16         289FE7D65DFCFACB416832D12862105A2762841A    Blacked             05/12/2017   05/10/2017        06/22/2017      PA0002039285
                                                                            05:45:47
                          Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 10 of 13
Work   Hash                                       Site         UTC          Published      CRO App. File   CRO Number
                                                                                           Date
17     31577E16E1B68BF13F30BE538E1BAF66E224726A   Tushy        08/01/2017   07/30/2017     08/11/2017      15711086778
                                                               05:04:24
18     322F6ABAB019761A6FF3C1211AF75B28137F013F   Vixen        06/09/2017   06/08/2017     07/06/2017      15584691637
                                                               20:46:58
19     337A87F18ACD71687C3733C359197601B44E39FF   Vixen        06/01/2017   05/29/2017     06/22/2017      PA0002039292
                                                               09:40:11
20     34452073A3328CE2AF5FC73A5A8DDD4141E85B4A   Vixen        08/23/2017   08/22/2017     09/07/2017      PA0002052852
                                                               10:51:56
21     374A3B65D604113BB3880FDACE83FD1EFED3CA7C   Tushy        08/15/2017   08/14/2017     08/17/2017      PA0002048391
                                                               12:51:18
22     3945FEF635D609C3FB77DD4762FC2570E7E12D7C   Blacked      05/21/2017   05/20/2017     06/22/2017      PA0002039289
                                                               16:45:29
23     408577469D1675504E89F205C619738007D08DD9   Blacked      06/09/2017   06/09/2017     07/06/2017      15584064165
                                                               20:59:45
24     4125860EC76C1E0880F652DA94EB84D375A64436   Tushy        08/05/2017   08/04/2017     08/17/2017      15732903865
                                                               12:02:40
25     464AB452DA8258FA23BA74830F0D57EE7CA518C5   Tushy        08/26/2017   08/24/2017     08/24/2017      PA0002052837
                                                               12:52:10
26     48F5E3FE474EA76DE23D7D0A8F27ADA15F5C98D7   Blacked      07/20/2017   07/19/2017     08/11/2017      PA0002046876
                                                               21:22:16
27     49F03BF24CE42C3AFFA968C9CFE37DB55B3B555E   Tushy        09/28/2017   04/26/2017     06/15/2017      PA0002037565
                                                               18:38:00
28     4B86BC16D0E5A0983C578B61ED87BC62C55B116A   Vixen        08/14/2017   08/12/2017     08/17/2017      15732986308
                                                               12:50:09
29     4F0D3D0FD3F88791F4933080453A052BE6924F22   Tushy        10/12/2017   10/08/2017     10/22/2017      PA0002058298
                                                               21:12:29
30     4FAE423CFA8C54409A4658429D7CB2B3E0F2E8B1   Vixen        09/27/2017   09/11/2017     09/20/2017      PA0002052839
                                                               02:20:50
31     4FF62836FC3C509617EE5DE7658EAABE045C0BA1   Tushy        09/16/2017   09/13/2017     09/25/2017      15894022635
                                                               16:46:35
32     5003D85013A07470D85A3250EF4B3393B6E2CB04   Tushy        07/12/2017   07/10/2017     08/17/2017      15732782072
                                                               20:00:00
33     5176733783D1199D43060681D7AE2D4E3B5C9AF9   Blacked      07/19/2017   07/14/2017     08/11/2017      PA0002046878
                                                               22:47:58
34     53FF1B4BD8FB69630FE0A67611FE747F902F6874   Vixen        07/20/2017   07/18/2017     08/10/2017      PA0002046875
                                                               21:17:40
                          Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 11 of 13
Work   Hash                                       Site         UTC          Published      CRO App. File   CRO Number
                                                                                           Date
35     5A06B4EA4DB48984499F2E9EA7213220E835089D   Blacked      06/16/2017   06/14/2017     07/06/2017      15584064117
                                                               14:31:45
36     5AA7FC6E46AEF9EC1227A939EADB3351AD495F12   Vixen        08/08/2017   08/07/2017     08/17/2017      15732904013
                                                               23:27:09
37     5C208E2ABF6083135CA52776A02D87442F215D60   Tushy        06/19/2017   06/15/2017     07/06/2017      15583057198
                                                               18:46:28
38     64683F0353A903719B39E742A35B975B17849BF7   Vixen        09/01/2017   07/28/2017     08/10/2017      PA0002046871
                                                               13:56:38
39     6503CB2EAECE7FA2F1D71B98E41D6D845BF7B794   Vixen        08/18/2017   08/17/2017     08/24/2017      15894022586
                                                               16:01:01
40     6960957E412263AA671D4F7A15737527D71A7C08   Tushy        09/08/2017   09/08/2017     09/20/2017      PA0002052841
                                                               22:40:10
41     69AC2D8751ABF0FED5C443A1CE77A7C7529B7AC9   Vixen        05/10/2017   05/09/2017     06/22/2017      PA0002039298
                                                               08:28:53
42     6A53ECB874B094837053EB7B7142560F0A85A9C2   Vixen        09/22/2017   09/21/2017     09/28/2017      15894022962
                                                               09:04:25
43     6B9175E9708A1BE765BBDC6582A68A12E44A33E3   Vixen        07/14/2017   07/13/2017     08/10/2017      PA0002046873
                                                               21:54:24
44     72F519FE9EED3C466979E55CFEBF253309A8106C   Vixen        05/16/2017   05/14/2017     06/22/2017      PA0002039297
                                                               12:11:02
45     74C66B184CB3F25F69326EF0C5529CDB680A8C47   Vixen        05/25/2017   05/24/2017     06/22/2017      PA0002039294
                                                               03:53:11
46     7E4981D21DDD4B8D9EB5905B1B8A95461915A160   Blacked      08/24/2017   08/23/2017     08/24/2017      15894022831
                                                               11:53:28
47     807F407D94E9D91A368B24C5EEA7DBA5FF438450   Vixen        10/12/2017   06/28/2017     07/06/2017      15584691463
                                                               19:03:36
48     82EC6E9F2A9287FD59C2B571FDC0CDED7EDDBB81   Blacked      07/05/2017   06/29/2017     07/06/2017      15584063973
                                                               04:24:38
49     88D30B83D9E749F514380A5F2E9C3E876CF55431   Tushy        08/10/2017   08/09/2017     08/17/2017      15732986259
                                                               10:01:43
50     8D906EA439B8BF052A8D68240F71C6D9ACE1E17A   Vixen        07/05/2017   07/03/2017     07/06/2017      15584691415
                                                               15:34:08
51     8F55C47AC0C8FED6F30E2C094965B3CF4749FA41   Vixen        09/20/2017   08/27/2017     09/07/2017      PA0002052843
                                                               09:40:12
52     921AED6337A58B159CFAF9DADDFE2D91CDFF8AB3   Tushy        08/12/2017   06/25/2017     07/06/2017      15584063333
                                                               11:16:39
                          Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 12 of 13
Work   Hash                                       Site         UTC          Published      CRO App. File   CRO Number
                                                                                           Date
53     9B5E94F7A0C627798E8020DFAA9A28609D1AB82A   Tushy        07/20/2017   07/20/2017     08/11/2017      PA0002046869
                                                               21:27:58
54     9C80B087C925D30BA01F72FC0EAABD8EAADF588A   Blacked      08/20/2017   08/18/2017     08/24/2017      15894022488
                                                               09:20:56
55     9D5513F0563852D9FB73EDC7D6318A6BB04334D9   Tushy        09/20/2017   09/18/2017     09/28/2017      15894022252
                                                               11:43:04
56     9E1EEE10CC32609ECC2542444366C4BBDC969CB5   Vixen        09/17/2017   09/16/2017     09/25/2017      15894022913
                                                               09:29:18
57     9E77DF7FCCB30D04DC6500C39CC3EF0AA2B48257   Blacked      09/06/2017   09/02/2017     09/07/2017      PA0002052847
                                                               23:09:08
58     ABDFB02F5D20E29C32ABCE90A8478787DDA3C11D   Tushy        06/12/2017   06/10/2017     07/06/2017      15583057070
                                                               17:58:55
59     AE6A89DD0FB4978EAC561028F9FB06AA0A8D7E6A   Tushy        05/10/2017   05/01/2017     06/15/2017      PA0002037577
                                                               09:29:30
60     AFA4C44023577E2A90E1CFA8DB69A6F5D035B1D2   Blacked      09/08/2017   09/07/2017     09/14/2017      PA0002052840
                                                               22:15:20
61     B2EC2056C7699F25A118F23E36BB74FC7D3B7131   Vixen        07/09/2017   07/08/2017     08/17/2017      15732903239
                                                               14:25:35
62     B80F62F292E7B77184DC0BCF80ECE23CF7B23D15   Tushy        09/29/2017   09/28/2017     10/10/2017      15894022733
                                                               10:28:52
63     BA56E328AE2DBA8A20B327451656293E37FDAE35   Blacked      05/16/2017   05/15/2017     06/22/2017      PA0002039283
                                                               12:04:06
64     C496C2BFE4C6D994F43DC665F2CBEE16FE85777A   Tushy        06/06/2017   06/05/2017     07/06/2017      15583057012
                                                               10:39:33
65     CB9ABC2B058CADE2FA7C0BD6A20558DC0E46EB0D Blacked        06/24/2017   06/19/2017     07/06/2017      15584064069
                                                               00:42:22
66     D2B9C8834073E3BF4B55F7BF45C7EA7BE5903569   Blacked      05/31/2017   05/30/2017     06/22/2017      PA0002039295
                                                               11:36:18
67     DCE1E033042DA8E7CFC7CEC42B7D21201BEDFD57   Tushy        07/05/2017   06/30/2017     07/06/2017      15584063421
                                                               13:13:53
68     E132114F31A37161B83D12BCE6320B65DE025C9B   Vixen        06/20/2017   06/18/2017     07/06/2017      15584691891
                                                               01:02:34
69     E1C14843DC58F3CB2CCB7383B242E4EE8D32363B   Tushy        08/01/2017   07/25/2017     08/11/2017      PA0002046870
                                                               00:20:55
70     E272AF63D15A4277BF857E93B225717C76F3DA9D   Tushy        05/15/2017   05/11/2017     06/22/2017      PA0002039286
                                                               07:43:19
                          Case 2:17-cv-01731-TSZ Document 1 Filed 11/16/17 Page 13 of 13
Work   Hash                                       Site         UTC          Published      CRO App. File   CRO Number
                                                                                           Date
71     E4BB4B0185636612E25A2955F474B4494789F63C   Blacked      10/12/2017   10/07/2017     10/22/2017      PA0002058300
                                                               23:51:21
72     E69BB37CE99BE570CC9EB659F45DDEF6E740E3BE   Blacked      08/14/2017   08/13/2017     08/17/2017      15732986356
                                                               12:40:23
73     EC31FAD9EF2492EACCD767B4A6E207BBF2765F0E   Blacked      09/13/2017   09/12/2017     09/20/2017      PA0002052846
                                                               14:24:29
74     F1132ADEB75DD2EA99B249DD70902C74E9DA7884   Tushy        09/03/2017   08/29/2017     09/07/2017      15894022439
                                                               05:00:03
75     F4A9F0567219CB991D41B5AD34DCA1CB04591497   Tushy        09/25/2017   09/23/2017     10/02/2017      15893930182
                                                               11:19:11
76     F77021A22716CC4E2F1154DBDF60A3891FF84DE1   Tushy        09/29/2017   07/05/2017     07/06/2017      PA0002041555
                                                               10:33:06
77     F8A92532C263D3E3497FF27A3FE569FF7BF15E37   Blacked      05/15/2017   04/25/2017     06/15/2017      PA0002037576
                                                               06:09:04
78     F8FEB2EE6C17B37610C5B2AE85F0266CB0C5C5BD   Blacked      07/05/2017   07/04/2017     07/06/2017      15584063685
                                                               15:25:57
79     FF7A5EE06C927438A3CAABC69D774D9CEACA8B9F   Tushy        07/17/2017   07/15/2017     08/10/2017      15711014757
                                                               19:52:12
80     FFD7D4C0A301487B3A11CBF1B3FC16410D42AEA0   Vixen        09/06/2017   09/06/2017     09/14/2017      PA0002052844
                                                               23:08:24
